 Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 1 of 7 Page ID #:1017




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 4   Assistant United States Attorney
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 9         E-mail: Frank.Kortum@usdoj.gov
10   Attorneys for the
     United States of America
11
12                             UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                  WESTERN DIVISION
15   UNITED STATES OF AMERICA ex             No. CV 17-08726 DSF(AFMx)
     rel.[UNDER SEAL],
16                                           NOTICE OF ELECTION BY THE
                Plaintiffs],                 UI~TITED STATES TO DECLINE
17                                           INTERVENTION AND STIPULATION
                      v.                     RE UNSEALING OF CASE
18
     [UNDER SEAL],                           rFILED UNDER SEAL PURSUANT TO
19                                           THE FALSE CLAIMS ACT,31 U.S.C.
                Defendant[s].                §§ 3730(b)(2) and (3)]
20
                                            [LODGED CONCURRENTLY UNDER
21                                          SEAL: ~PROPOSEDI ORDERI
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 Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 2 of 7 Page ID #:1018




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12                            UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15   UNITED STATES OF AMERICA AND           No. CV 17-08726 DSF(AFMx)
     STATE OF CALIFORNIA, ex rel.
16   EMILY ROE,                             NOTICE OF ELECTION BY THE
                                            UNITED STATES TO DECLINE
17              Plaintiffs,                 INTERVENTION AND STIPULATION
                                            RE UNSEALING OF CASE
18                    u
19   STANFORD HEALTHCARE BILLING            [FILED UNDER SEAL PURSUANT TO
     OFFICE, et al.,                        THE FALSE CLAIMS ACT,31 U.S.C.
20                                          § 3730(b)(2)]
                Defendants.
21                                         [LODGED CONCURRENTLY UNDER
                                           SEAL: fPROPOSEDIORDERI
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 Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 3 of 7 Page ID #:1019




 1         Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4)(B), the United States of
 2   America("United States") notifies the Court of its decision not to intervene in the above-
 3   captioned action ("this action"). (The State of California, by and through the California
 4   Department ofInsurance, filed its Notice ofNon-Intervention in 2018.)
 5         Although the United States declines to intervene, we respectfully refer the Court
 6   to 31 U.S.C. § 3730(b)(1), which allows the qui tam plaintiff, Emily Roe ("the relator"),
 7   to maintain this action in the name ofthe United States, provided, however, that the
 8 "action may be dismissed only if the court and the Attorney General give written consent
 9   to the dismissal and their reasons for consenting." Id. The United States Court of
10   Appeals for the Ninth Circuit has held that, notwithstanding this language, the United
11   States has the right only to a hearing when it objects to a settlement or dismissal ofthe
12   action. U.S. ex rel. Green v. Northrop Corp., 59 F.3d 953,959 (9th Cir. 1995); U.S. ex
13   rel. Killingsworth v. Northrop Corp., 25 F.3d 715, 723-25 (9th Cir. 1994). Therefore,
14   the United States requests that, should either the relator or any of the defendants propose
15   that this action be dismissed, settled, or otherwise discontinued, the parties provide the
16   United States with notice ofthe same and the Court provide the United States with an
17   opportunity to be heard before ruling or granting its approval.
18         Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that
19   all pleadings filed in this action be served upon the United States. The United States also
20   requests that orders issued by the Court in this action be sent to counsel for the United
21   States. The United States reserves its right to order any deposition transcripts, intervene
22   in this action at a later date for good cause, and seek the dismissal of this action or any
23   claims therein. The United States also requests that it be served with all notices of
24   appeal in this action.
25         Finally, the United States, the State of California, and the relator stipulate and
26   request that the relator's Complaint, this Notice, and the accompanying proposed Order
27   should be unsealed on or after July 30, 2019, so that relator and her counsel may be
28   allowed sufficient time to evaluate relator's options with respect to the future course of
Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 4 of 7 Page ID #:1020




      1    this action. The United Sates, the State ofCalifornia, and the relator further stipulate
      2 that all other papers filed or lodged to date i:n this action should remain under seal
      3 ' because such papers were provided by law to the Court alone for the sole purpose of
      4 ', discussing the content and extent ofthe governments' investigation, and,fihereby,
      5    evaluating whether the seal and time for making an election to intervene should be
      b    extended.
      7          A proposed order is lodged concurrently herewith.
      8                                    Respec       7 subm'
      4 Dated: July~2,20l9                        ~" ~f
                                           G          JUAREZ
     10
                                           Attorney for Relator
     11
           Dated: July        ,2019        CALIFORNIA DEPARTMENT OF iNSIJItANCE
     12
     13
                                                  ~~ ~~~w~~ ,~~J
                                           NICHOLAS CAMPINS
     i4
                         °~                Attorney far the State of California, by and through
     15                                    the California Insurance Commissioner
     16
     1'~   Dated: 3uly        ,2019         XAV~R BECERRA
                                            Attorney General ofthe State of California
     18
     19                                      ~~ ~~~~~~, v~~
     20                                     SIOBHAN FRANKLIN
                                            Deputy Attorney General
     zl                                     Attorneys for the State of California
     22
     23 Dated: July ~2-,2019                IVICOLA T. HANNA
     24                                     United States Attorney

     25                                      ~~~ ~ r/
     2b                                     FRANK D.KORTUM
                                            Assistant United States Attorney
     ~~                                     Attorneys for the United States of America
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Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 5 of 7 Page ID #:1021




 1 '~ this action. The United States, the State of California, and the relator further stipulate
 2 , that all other papers filed or lodged to date in this action should remain under seal
 3   because such papers were provided by law to the Court alone for the sole purpose of
 4   discussing the content and extent ofthe governments' investigation, and, thereby,
 5   evaluating whether the seal and time for making an election to intervene should be
 6   emended.
 7         A proposed order is lodged concurrently herewith.
 8                                    Respectfully submitted,
 9   Dated: July        , 2019       ~~- ~~~~`oJ                         ~"~s'`"
                                     GLORIA JUAREZ
10
                                     Attorney for Relator
11               ,,
     Dated: July ! ,2019               CALIFORNIA DEPARTMENT OF INSURANCE
12
                                                       _.~.._ _.
13
                                      1~TICHOLAS CAMPINS
14
                                      Attorney for the State of California, by and through
15                                    the California Insurance Commissioner
16
17   Dated: July        ,2019          XAVIER BECERIZA
                                       Attorney General of the State of California
18
19
                                       SIOBHAN FRANKLIN
20
                                       Deputy Attorney General
21                                     Attorneys for the State of California
22
23   Dated: July ~ Z2019               NICOLA T. HANNA
                                       United States Attorney
24
25                                                           C
                                       FRANK D. KORTUM
26
                                       Assistant United States Attorney
27                                     Attorneys for the United States of America
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     Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 6 of 7 Page ID #:1022




 1     this action. The United States, the State of California, and the relator ftirther stipulate
 2     that all other papers filed or lodged to date in this action should remain under seal
 3     because such papers were provided by law to the Court alone for the sole purpose ot`
 4     discussing the content and extent ofthe governments' investigation, and, thereby,
 5     evaluating whether the seal and tune for making an election to intervene should be
 6     extended.
 7           A proposed order is lodged cancunently herewith.
 8                                       Respectfully submitted,
 9     Dated: July        , 2019             ~~~ ✓~"~~`                     ~~
                                         GLORIA JUAREZ
10
                                         Attorney ;for Relator
11
       Dated: July        , 2019         CALIFORNIA DEPARTMENT OF INSURANCE
12
13
                                        I~TICHOLAS CAMPINS
14
                                        Attorney for the State of California, by and through
15                                      the California Insurance Corrunissioner
lb
17     Dated: July ~,2019                XAVIER     CERR_A
18                                       Attorney e~eral ofthe State of California

19
20                                       SIO     ~V FR141VI~LIN
                                         Deputy Attorney General
21                                       Attorneys for the State of California
22
23     Dated: July[~2019                 NIC4LA T. HANNA
24                                       United States Attorney

25                                            ~%~-C
                                         FRANK D. KORTUM
26
                                         Assistant United States Attorney
27                                       Attorneys for the United States of America
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 Case 2:17-cv-08726-DSF-AFM Document 30 Filed 07/16/19 Page 7 of 7 Page ID #:1023




 1                               PROOF OF SERVICE BY MAIL
 2
           I am over the age of 18 and not a party to the above-captioned action. I am
 3
     employed by the Office of United States Attorney, Central District of California. My
 4
     business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5
     90012.
 6
           On July~2019,I served the NOTICE OF ELECTION BY THE UNITED
 7
     STATES TO DECLINE INTERVENTION AND STIPULATION RE UNSEALING OF
 8
     CASE on each person or entity named below by enclosing a copy thereof in an envelope
 9
     addressed as shown below and placing the envelope for collection and mailing on the
10
     date and at the place shown below following our ordinary office practices. I am readily
11
     familiar with the practice of this office for collection and processing correspondence for
12
     mailing. On the same day that correspondence is placed for collection and mailing, it is
13
     deposited in the ordinary course of business with the United States Postal Service in a
14
     sealed envelope with postage fully prepaid.
15
           Date of mailing: July ~, 2019. Place of mailing: Los Angeles, California.
16
           Persons) and/or Entity(s) to whom mailed:
17                                                 GLORIA JUAREZ
           NICHOLAS G. CAMPINS
18         Senior False Claims Attorney            Law Offices of Gloria Juarez
           45 Fremont Street, 21St Floor           P.O. Box 4591
19         San Francisco, CA 94105                 Montebello, CA 90640-9310

20         SIOBHAN FRANKLIN
           Depu Attorney General
21         1455 ~razee Road, Surte 315
           San Diego, CA 92018
22
23         I declare that I am employed in the office of a member ofthe bar of this Court at

24   whose direction the service was made.

25         I declare under penalty of perjury that the foregoing is true and correct.

26         Executed on July ~,2019, at Lo,~}geles, California.

27
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